Case 1:20-cr-00195-JLS-JJM Document 1 Filed 08/19/20 Page 1 of 10
       Case 1:20-cr-00195-JLS-JJM Document 1 Filed 08/19/20 Page 2 of 10




                      AFFIDAVIT IN SUPPORT OF COMPLAINT


STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )



       I, Eric Schmidt, being duly sworn, depose and say:


       1.      I am a Task Force Officer of the Federal Bureau of Investigation and have been

on the Child Exploitation Task Force (CETF) since April 2017. I have been employed as a

police officer with the Town of Tonawanda Police Department since January 2002. As a

member of the CETF, I work on cases associated with the Violent Crimes Against Children

program, which targets individuals involved in the on line sexual exploitation of children.

As part of these duties, I have become involved in the investigation of suspected violations of

Title 18, United States Code, Sections 2251, 2252, and 2252A.



       2.      I have also participated in various FBI mandated and volunteer training for the

investigation and enforcement of federal child pornography laws in which computers and

electronic media are used as the means for receiving, transmitting, and storing child

pornography.



       3.      I make this affidavit in support of a criminal complaint charging DAVID

RUBEL (hereinafter “RUBEL”) with a violation of Title 18 U.S.C. Sections 2251 [sexual

exploitation of a child] and 2252A [possession of child pornography].
        Case 1:20-cr-00195-JLS-JJM Document 1 Filed 08/19/20 Page 3 of 10




        4.    The statements contained in this affidavit are based on my involvement in this

investigation, as well as information provided to me by other law enforcement officers

involved in this investigation, and upon my training and experience. Because this affidavit

is being submitted for the limited purpose of seeking a criminal complaint, I have not included

each and every fact known to me concerning this investigation. I have set forth only the facts

that I believe are necessary to establish probable cause to believe that RUBEL violated Title

18, United States Code, Section 2251 and 2252A.



                  I. THE INVESTIGATION AND FACTUAL BASIS

        5.    On or about August 10, 2020, I learned that the Town of Tonawanda Police

Department (TTPD) was investigating an incident related to the possible production of child

pornography. I was contacted by TTPD Patrol Lieutenant N. Salonikis, who stated that the

complainant (hereinafter PARENT), had filed a police report, alleging that RUBEL had been

texting his 16 year old juvenile daughter (hereinafter VICTIM), and that some of the texts he

observed were sexual in nature. PARENT stated to the reporting officer that he observed

inappropriate images on VICTIM’s device within a text thread between VICTIM and

RUBEL. PARENT did sign a consent form consenting to the search of VICTIM’s device

and provided a supporting deposition to Town of Tonawanda Detective F. Dirienzo, stating

that he observed the text messages and that some of them were sexual in nature to include an

image of an adult penis. PARENT also stated that VICTIM turned 16 years old in late July

2020.




                                              2
       Case 1:20-cr-00195-JLS-JJM Document 1 Filed 08/19/20 Page 4 of 10




      6.     On August 11, 2020, TFO Schmidt conducted a cellular extraction of

VICTIM’s Apple iPhone device. After reviewing the extraction report a text conversation

between VICTIM’s phone number and (716)534-1578, listed as “Dave”(glass of beer emoji)”

was located. The following texts are excerpts from that conversation:

Monday, July 20, 2020 1:58am

From Dave:          Want to see u naked

From VICTIM         so please never stop being you never change what you do the things we
                    do stays between me and you and I can promise you that forever.

                    please don’t be

                    (an image of a female vagina and torso was then sent by VICTIM.
                    There is also a piercing on the navel of the female’s body.)

From Dave:          I wontsexy

                    (an image of an erect penis was then sent to VICTIM. A white toilet and
                    bathroom vanity are visible in the image)

                    (another image of RUBEL taking a self-portrait in a mirror was then
                    sent. RUBEL is naked and has his penis resting on the bathroom
                    vanity)

                    (another image of an erect penis is sent. A male’s hand is manipulating
                    the penis)


Monday, July 20, 2020 11:48pm

From Dave:          (image of an erect male penis is sent to VICTIM. Toilet and bathroom
                    vanity are visible in the image. The male is wearing red shorts and red
                    Nike sandals.)

From VICTIM:        want it now

From DAVE:          me too

From VICTIM:        no I want you more than u want me



                                            3
      Case 1:20-cr-00195-JLS-JJM Document 1 Filed 08/19/20 Page 5 of 10




From DAVE:         I want wetpussy

From VICTIM:       Mine

                   Two images of a female vagina are then sent by VICTIM (the same
                   piercing from the images sent by VICTIM in earlier chat is visible in one
                   image)

From DAVE:         Yum want it

From VICTIM:       Do you

From DAVE:         Hell yea

From VICTIM:       yess that’s what I like to hear.

                   But you don’t want me as much as I want you


Tuesday, July 21, 2020 11:02am

From DAVE:         Get up an get naked lol

From VICTIM:       (an image of VIC posing topless in a bathroom mirror is sent)


Saturday, July 25, 2020 2:27am

From DAVE:         Im going bath room play with my cick think of u

From VICTIM:       I love you with all my heart

                   want some pictures

From DAVE:         Ditto

                 Ysa

From VICTIM:       (Four images are sent by VICTIM, all four show the VICTIM’s
                   vagina.)

From DAVE:         Sexy asshell libe u naked an bennd over




                                             4
       Case 1:20-cr-00195-JLS-JJM Document 1 Filed 08/19/20 Page 6 of 10




       7.      During my extraction of VICTIM’s phone, I also found two videos of VICTIM

masturbating which VICTIM sent to RUBEL at or near the same time as the above-note text

exchanges. The forensic data confirms VICTIM sent the videos to RUBEL at (716)534-1578.



       8.      On August 11, 2020, RUBEL was interviewed by Town of Tonawanda Police

Detective A. Cavarello. RUBEL was advised of his Miranda Rights by Detective Cavarello

and agreed to speak with Detective Cavarello. During the interview, RUBEL admitted to

exchanging text messages of a sexually explicit nature with VICTIM. RUBEL also admitted

during the interview that he requested naked images of VICTIM, and that VICTIM sent him

images of her breasts and vagina. He also admitted to sending VICTIM images of his penis.

RUBEL admitted that he had kissed VICTIM on cheek and may have accidentally grabbed

one of her breasts or buttocks while wrestling or playing in the pool. RUBEL also consented

to a search of his cellular device.



       9.      On August 11, 2020, VICTIM was interviewed by Town of Tonawanda Police

Detective Cavarello. VICTIM admitted that she and RUBEL had texted each other and that

the content of the texts was sexual in nature. VICTIM stated that RUBEL had requested

that she send him naked images. VICTIM admitted that she did send him images of her

breasts and vagina approximately five times. VICTIM stated that she did not voluntarily

send the images in the beginning, and felt pressured to do so, but that it got easier to do.

VICTIM stated that RUBEL sent her images of his penis and texted her things like “horny”

or “I want you”. VICTIM stated that RUBEL also told her he wanted to “eat her




                                             5
        Case 1:20-cr-00195-JLS-JJM Document 1 Filed 08/19/20 Page 7 of 10




out”.   Based on my knowledge, training and experience in child exploitation crimes,

RUBEL’s desire to “eat her out” means putting his mouth on the VICTM’s vagina to derive

sexual pleasure for himself and the VICTIM. VICTIM stated to Detective Cavarello that she

and RUBEL did not have any sexual contact in person.



        10.   On August 11, 2020, an administrative subpoena was sent to AT&T(Cricket)

for subscriber information regarding phone number (716)534-1578. On August 12, 2020,

AT&T(Cricket) responded with the following information:

        BILLING PARTY
        Name:            DAVID RUBEL
        Billing Address: 181 Pullman Ave, Kenmore, NY 14217

        USER INFORMATION
        MSISDN:       (716) 534-1578



        11.   On August 12, 2020, TFO Schmidt conducted a cellular extraction on the LG

cellular device belonging to RUBEL. An image was located on the device in the “trash”

folder within the image gallery folder. The image is of an erect male penis. This same image

is located on the VICTIM’s device in the text messages between RUBEL and VICTIM, and

was sent to VICTIM on Wednesday, August 5, 2020 at 9:23pm. The title of the image shows

as “Message_1596676923783.jpg” with a date of August 5, 2020 at 9:22pm according to the

detail’s information on RUBEL’s device.



        12.   On August 11, 2020, RUBEL was interviewed by Town of Tonawanda Police

Detective Cavarello. When asked by Detective Cavarello whether RUBEL knew how old

VICTIM was, RUBEL told them, “She was 15 last month, but now she is 16.” Additionally,

                                             6
Case 1:20-cr-00195-JLS-JJM Document 1 Filed 08/19/20 Page 8 of 10
AO 442 (Rev. 11/11)Case    1:20-cr-00195-JLS-JJM
                   Arrest Warrant                        Document 1 Filed 08/19/20 Page 9 of 10

                                 United States District Court
                                                         for the
                                               Western District of New York

                            United States of America

                                          v.

                            DAVID RUBEL                                                Case No. 20-mj-1128
               _________________________________________
                                       Defendant


                                                   ARREST WARRANT

To:     Any authorized law enforcement officer
       YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary
delay DAVID RUBEL, who is accused of an offense or violation based on the following document filed with the
Court:

 ☐ Indictment         ☐ Superseding Indictment          ☐ Information         ☐ Superseding Information                      ☒ Complaint

 ☐ Probation Violation Petition      ☐ Supervised Release Violation Petition      ☐ Violation Notice            ☐ Order of the Court

This offense is briefly described as follows:

(1)      On or about August 2, 2020, in the County of Erie, in the Western District of New York, the defendant, DANIEL
RUBEL, did knowingly employ, use, persuade, entice, and coerce a minor who was under the age of 18 years, to engage in
sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2), for the purpose of producing visual
depictions of such conduct, using materials that have been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means, including by computer, and the visual depictions were transported and transmitted using any means
and facility of interstate and foreign commerce and the visual depictions were transported and transmitted in and affecting
interstate and foreign commerce, in violation of Title 18, United States Code, Section 2251(a) and 2251(e); and


(2)     Between July 20, 2020 and August 9, 2020, in the County of Erie, in the Western District of New York, the defendant,
DAVID RUBEL, did knowingly possess child pornography, as defined in Title 18, United States Code, Section 2256(8), in
violation of Title 18, United States Code, Section 2252A(a)(5)(B).

Date: August, 19, 2020
                                                                                          Issuing officer’s signature


City and State: Buffalo, New York                                     JEREMIAH J. McCARTHY
                                                                      UNITED STATES MAGISTRATE JUDGE
                                                                                          Printed name and Title


                                                             Return

           This warrant was received on (date) ______________, and the person was arrested on (date) ______________,
 at (city and state) __________________________________________.

 Date: ______________
                                                                                             Arresting officer’s signature



                                                                                                Printed name and title
                  Case
AO 442 (Rev. 11/11)        1:20-cr-00195-JLS-JJM
                    Arrest Warrant (Page 2)                 Document 1 Filed 08/19/20 Page 10 of 10
                    This second page contains personal identifiers provided for law-enforcement use only
                    and therefore should not be filed in court with the executed warrant unless under seal.

                                                       (Not for Public Disclosure)


 Name of defendant/offender:            David Rubel

 Known aliases:

 Last known residence:                  1117 Brighton Road, Tonawanda, NY

 Prior addresses to which defendant/offender may still have ties:



 Last known employment:

 Last known telephone numbers:

 Place of birth:                        New York

 Date of birth:                         12/24/1981

 Social Security number:                XXX-XX-XXXX

 Height:    5’10”                                                      Weight:       180 lbs

 Sex:       Male                                                       Race:         White

 Hair:      Brown                                                      Eyes:         Hazel

 Scars, tattoos, other distinguishing marks:



 History of violence, weapons, drug use:



 Known family, friends, and other associates (name, relations, address, phone number):



 FBI number:       983557JD5

 Complete description of auto:

 Investigative agency and address:      Buffalo FBI: TFO ERIC SCHMIDT (716.698.4234)

 Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



 Date of last contact with pretrial services or probation officer (if applicable):
